                    Case 6:20-cv-00585-ADA Document 272-17 Filed 10/04/23 Page 1 of 2
5/5/23, 11:02 AM                                  Popular times, wait times, and visit duration - Google Business Profile Help




      Popular times, wait times, and visit duration
      To help customers plan visits to your business, Google may show information such as popular times,
      live visit information, wait times, and typical visit duration. This data appears below your regular
      business information on Google Maps and Search.


      About visit data
      To determine popular times, wait times, and visit duration, Google uses aggregated and
      anonymized data from users who have opted in to Google Location History. Popular times, wait times,
      and visit duration are shown for your business if it gets enough visits from these users. You can’t
      manually add this information to your location, and it appears only if Google has sufficient visit data
      for your business.

      Visit data may include:

      • Popular times graph: This graph shows how busy your location typically is during different times of
        the day. Popular times are based on average popularity over the last few months. Popularity for any
        given hour is shown relative to the typical peak popularity for the business for the week. For
        example, in the image below, 8 PM–9 PM on Saturday is one of the more popular times of the week
        for this business.
      • Live visit data: This data shows how active your location is right now. Live visit data is updated in
        real time and overlaid on the popular times graph. For example, in the image below, the highlighted
        section of the graph represents how active the location is right now compared to its usual level of
        activity.
      • Visit duration: This data shows how much time customers typically spend at your location. Visit
        duration estimates are based on patterns of customer visits over the last several weeks.
      • Wait time estimates: This data shows how long a customer would have to wait before they receive
        service during different times of the day. It also shows the peak wait time for each day of the week.
        The displayed wait time is based on patterns of customer visits over the last several weeks. Wait
        time estimation differs for different business types. For instance, a sit-down restaurant's wait time
        reflects how long customers wait before they are seated.




                                                                                                                                   PLAINTIFF'S
                                                                                                                                     EXHIBIT

                                                                                                                                 PTX-493
                                                                                                                                 6:20-cv-572/580/584/585




                                                                                                                                      PTX-493-0001
https://support.google.com/business/answer/6263531?hl=en                                                                                       1/2
                                                                                                                       GOOG-WSOU585-00227039
                     Case 6:20-cv-00585-ADA Document 272-17 Filed 10/04/23 Page 2 of 2
5/5/23, 11:02 AM                                                     Popular times, wait times, and visit duration - Google Business Profile Help




                                            basi                                                             Pe         Bat)
                                                                       eto                           Q        ke
                                                   OVERVIEW                                        es               REVIEWS




                                                                                 C
                                                                                       >
                                        |
                                                     Value, friendly service, and delicious deep-dish pizza make
                                                     Giordano’s a crowd sweetheart
                                                     Full   review on Michelin       guide




                                                   Popular times: Saturdays                  +




                                                                                                 Live: Busy
                                                                                             & Wait: Usually up to 1h 45m




                                                                           12p                          6p         ap


                                                   Plan your visit

                                                   8          Peak wait up to 1h 45m from 8:00 PM-9:00 PM



                                                              People typically spend 45 min to 2 hr here


                                               On these lists




                                                                      Need more help?
                                                                       Try these next steps:



          Ask the Help Community
          Get answers from community experts




          Contact us
          Tell us more and we’ll help you get there




                                                                                                                                                     PTX-493-0002
https://support.google.com/business/answer/6263531?hl=en                                                                                                  2/2
                                                                                                                                          GOOG-WSOU585-00227040
